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 1                                                      Magistrate Judge Mary Alice Theiler
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   UNITED STATES OF AMERICA,                    )
                                                  )     NO.    CR00-186TSZ
10                           Plaintiff,           )
                                                  )     GOVERNMENT’S
11                           v.                   )     WITNESS LIST
                                                  )
12   NORMAN HUGH SMITH,                           )
                                                  )
13                           Defendant.           )
                                                  )
14

15           The following is a list of witnesses that the government may use at the evidentiary
16   hearing of the above-referenced case:
17   1.      Gina Martinis, United States Probation Office
18   2.      Calvin Bouma, United States Probation Office
19           Dated: this 5th day of July, 2005.
20
                                                  Respectfully submitted,
21
                                                  JOHN McKAY
22                                                United States Attorney
23                                                s/ Ilene J.K. Miller
                                                  ILENE J.K. MILLER
24
                                                  Assistant United States Attorney
25                                                United States Attorney's Office
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                                                                                               (206) 553-7970
             Case 2:00-cr-00186-TSZ Document 161 Filed 07/05/05 Page 2 of 2



 1                                CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on July 5, 2005, I electronically filed the foregoing with the
 4   Clerk of Court using the CM /ECF system which will send notification of such filing to
 5   the attorney of record for the defendant.
 6

 7                                                       s/ Bonnie R. Wolfgram
                                                         BONNIE R. WOLFGRAM
 8
                                                         Legal Assistant
 9
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